       Case 3:22-cv-02646-LB Document 45-1 Filed 07/15/22 Page 1 of 2




 1    SONAL N. MEHTA (SBN 222086)                      REID J. SCHAR (SBN 283948)
      Sonal.Mehta@wilmerhale.com                       RSchar@jenner.com
 2    WILMER CUTLER PICKERING                          JENNER & BLOCK LLP
       HALE AND DORR LLP                               455 Market Street, Suite 2100
 3    2600 El Camino Real, Suite 400                   Telephone: (628) 267-6800
      Palo Alto, CA 94306                              Facsimile: (628) 267-6859
 4    Telephone: (650) 600-5051
      Facsimile: (650) 858-6100                        SAMUEL S. UNGAR (SBN 318774)
 5                                                     SUngar@jenner.com
      ARI HOLTZBLATT (pro hac vice)                    TASSITY S. JOHNSON (pro hac vice)
 6    Ari.Holtzblatt@wilmerhale.com                    TJohnson@jenner.com
      WILMER CUTLER PICKERING                          JENNER & BLOCK LLP
 7     HALE AND DORR LLP                               1099 New York Avenue NW, Suite 900
      1875 Pennsylvania Avenue NW                      Washington, DC 20001
 8    Washington, DC 20006                             Telephone: (202) 639-6000
      Telephone: (202) 663-6000                        Facsimile: (202) 693-6066
 9    Facsimile: (202) 663-6363
                                                       Attorneys for Defendant
10    EMILY BARNET (pro hac vice)                      TWITTER, INC. AND JACK DORSEY
      Emily.Barnet@wilmerhale.com
11    WILMER CUTLER PICKERING                          JOHN M. PIERCE (SBN 250443)
       HALE AND DORR LLP                               jpierce@johnpiercelaw.com
12    7 World Trade Center                             JOHN PIERCE LAW, P.C.
      250 Greenwich Street                             21550 Oxnard Street, 3rd Fl., PMB# 172
13    New York, NY 10007                               Woodland Hills, CA 91367
      Telephone: (212) 230-8800                        Telephone: (213) 375-3310
14    Facsimile: (212) 230-8888
                                                       Attorney for Plaintiffs
15    Attorneys for Defendants                         LAURA LOOMER AND LAURA LOOMER
      META PLATFORMS, INC. AND MARK                    FOR CONGRESS, INC.
16    ZUCKERBERG

17                              UNITED STATES DISTRICT COURT
18                           NORTHERN DISTRICT OF CALIFORNIA
19                                       SAN FRANCISCO DIVISION
20
                                                          Case No. 3:22-cv-02646-LB
21   LAURA LOOMER, as an individual, et al.,
                           Plaintiffs,                   [PROPOSED] ORDER AMENDING
22                                                       THE CAPTION
            v.
23
                                                          Hon. Laurel Beeler
     FACEBOOK, INC., MARK ZUCKERBERG, in
24   his capacity as CEO of Facebook, Inc. and as an
25   individual, TWITTER, INC., and JACK
     DORSEY, in his capacity as former CEO of
26   Twitter, Inc. and as an individual,

27                         Defendants.

28

      CASE NO.   3:22-CV-02646-LB                                                [PROPOSED] ORDER
       Case 3:22-cv-02646-LB Document 45-1 Filed 07/15/22 Page 2 of 2




 1                                       [PROPOSED] ORDER

 2   PURSUANT TO STIPULATION, IT IS SO ORDERED that:

 3          The caption of this case shall be changed to Laura Loomer, as an individual and in her

 4   capacity as a Candidate for United States Congress, Laura Loomer for Congress, Inc. v. Meta

 5   Platforms, Inc., Mark Zuckerberg, in his capacity as CEO of Meta Platforms, Inc. and as an

 6   individual, Twitter Inc., Jack Dorsey, in his capacity as former CEO of Twitter, Inc. and as an

 7   individual.

 8

 9   Date: __________________________                    ___________________________________
10
                                                         The Honorable Laurel Beeler
11                                                       United States District Judge

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


      CASE NO.   3:22-CV-02646-LB                    1                              [PROPOSED] ORDER
